                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

                                    DOCKET NO. 3:12cr188-FDW

UNITED STATES OF AMERICA,                              )
                                                       )
                       Plaintiff,                      )
                                                       )       FINAL ORDER AND JUDGMENT
       v.                                              )         CONFIRMING FORFEITURE
                                                       )
(26) DARYL WILKINSON,                                  )
                                                       )
                       Defendant.                      )


       On June 11, 2013, this Court entered a Preliminary Order of Forfeiture pursuant to 21

U.S.C. § 853 and Fed. R. Crim. P. 32(d)(2), based upon the Defendant’s plea of guilty to Count

One in the Bill of Indictment, oral statement and evidence already on record; and was adjudged

guilty of the offense charged in that count.

       On June 28, 2013 through July 27, 2013, the United States published via

www.forfeiture.gov, notice of this forfeiture and of the intent of the government to dispose of the

forfeited property according to law, and further notifying all third parties of their right to petition

the Court within sixty days from June 28, 2013 for a hearing to adjudicate the validity of any

alleged legal interest in the property. It appears from the record that no such petitions have been

filed. Based on the record in this case, including the defendant’s plea of guilty, the Court finds,

in accordance with Rule 32.2(c)(2), that the Defendant had an interest in the property that is

forfeitable under the applicable statute.

       It is therefore ORDERED:

       In accordance with Rule 32.2(c)(2), the Preliminary Order of Forfeiture is confirmed as

final. All right, title, and interest in the following property, whether real, personal, or mixed, has




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therefore been forfeited to the United States for disposition according to law:

       $2,000 in United States currency from Defendant’s commissary account in NY DOC

                                                Signed: August 30, 2013




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